          Case 1:22-mj-00143-ZMF Document 19 Filed 07/11/22 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                   *
                                           *
              v.                           *      Criminal No. 22-mj-143 (ZMF)
                                           *
HATCHETT SPEED,                            *
                                           *
              Defendant.                   *
                                      ORDER
       Upon consideration of Defendant's Unopposed Motion to Modify Conditions of

Release (ECF No. 17), it is hereby

       ORDERED that the defendant is permitted to attend his appointment at Y-Strap Doc,

located at 9624 W. Linebaugh Avenue, Tampa, Florida on July 13, 2022 at 12:40 PM; and it

is further,

       ORDERED that the defendant will stay at Econo Lodge Motel, located at 4 732 N.

Dale Mabry Highway, Tampa, Florida on the night of July 12, 2022; and it is further,

       ORDERED that the defendant will leave Florida to return to Virginia directly

following his appointment on July 13, 2022; and it is further,

       ORDERED that the defendant will provide notice to his Pretrial Services Officer and

defense counsel of the rest area he will stop at halfway between Virginia and Florida on

his drive to the appointment on July 11th. All other conditions shall remain the same.
                                                                            Digitally signed by
                                                                            G. Michael Harvey
                                                                            Date: 2022.07.11
       SO ORDERED.                                                          10:22:05 -04'00'
                                                          The Honorable G. Michael Harvey
                                                          United States Magistrate Judge
